






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



TERESA TINAJERO,


                            Appellant,


v.



J. JESUS TINAJERO,


                            Appellee.
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No. 08-08-00147-CV



Appeal from the


254th Judicial District Court


of Dallas County, Texas 


(TC# DF-06-18437-R) 



MEMORANDUM  OPINION


	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to
Tex.R.App.P. 42.1(a)(1).  Appellant represents that the parties reached an agreement to settle and
compromise their differences and requests that this Court dismiss the appeal.  Appellee has not
objected to the motion, and there is no indication that dismissal would prevent Appellee from
seeking the relief to which he would otherwise be entitled.  See Tex.R.App.P. 42.1(a)(1).  We
therefore grant Appellant's motion, and dismiss the appeal pursuant to the parties settlement
agreement.  As the motion does not indicate the parties have agreed otherwise, costs will be
taxed against Appellant.  See Tex.R.App.P. 42.1(d).

January 22, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


